                             Case 2:22-cv-00294-WSS Document 1-2 Filed 02/15/22 Page 1 of 12

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                             I                           IN THE COURT OF COMMON
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                             8                                         i. 1 PENNSYLVANIA
                                                       OF LAWRENCE COUNTY,
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                             I JACKSON TRAILS LTD.,
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                             1                                                   D
                             I                Plaintiff,                         n


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                             l           v.                                      I
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                                                                                       No. 19128 of2(}l9, C./X.                                                 9


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                             s
                                     NORTH BEAVER TOVVNSHIP,                     .a
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                                     LAWRENCE CGUNTY, PENNSYLVANIA,              s
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                                                                                 *
                             i                Defendant.                         4
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                             E                                                   TYFE OF PLEADING GR FILING:
                             I                                                   Complaint in Civil Action
                             I
                             I                                                   FILED ON BEHALF OF:
                                                                                 Plaintiff

                              I                                                  COUNSEL OF RECORD
                              !                                                  FOR THIS YARTY:
                             I;
                                                                                 James W. Manolo
                             lI                                                  Pa. LD. No. 46810
                                                                                 W illiam J. Manolo
                                                                                 Pa. LI). No. 315856
                                                                                 VERTERANO & MANOLIS
                             I                                                   2622 W ilmington Road
                             i                                                   New Castle, Pennsylvania 16105                                                 I
                             h                                                   724-652-0309                                                                   i
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                             Q!
                             ! l certify that this filing complies with the
                                provisions of the Public Access Policy of                                                                                       I
                             I the Unified Judicial .S'ystem of                                                                                                 ;
                             1 Pennsylvania that require filing                                                                                                 1
                                confidential information and documents                                                                                          I
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                               Case 2:22-cv-00294-WSS Document 1-2 Filed 02/15/22 Page 2 of 12
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                                                                 IN THE COURT OF COMMUN FLEAS
                                                               OF LAWRENCE COUNTY, PENNSYLVANIA

                               i         JACKSON TRAILS LTD.,                                U
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                                                      Plaintiff,                             *
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                               I               v.                                            l
                                                                                             ¢       No. 10128 of 20}9, QA.

                                         NORTH BEAVER TUWNSHIP,                              .
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                                IE
                                         LAWRENCE COUNTY, PENNSYLVANIA,                      i
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                                                      Defendant.                             a
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                               £1
                                                  You have been sued in Court, If you wish Lo defend against the claims set forth in the
                               I         following pages, you must take action within twenty (20) days airer this Complaint and Notice
                                         are served, by entering a written appearance personally or by attorney
                                                                                                             . and filing in writing
                                                                                                                                   g with
                               I         the Court your defenses or objections to the claims set forth against you. You are warned that
                               H         if you fail to do so the ease may proceed without you and a judgment may be entered against
                                         you by the Couii without further notice for any money claimed in the Complaint or for any
                                         other claim or relief rcqucstcd by the Plaim.illf. You may lose money or property or other rights
                                         important to you.
                                   4
                                              YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU I
                                   g
                                         DO NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE
                                   I     THE OFFICE SET FORTH BELQW TO FIND OUT WHERE YOU CAN GET LEGAL
                                   I
                                         HELP. THIS OFFICE CAN PROVIDE YOU wrm INFURMATIQN ABOUT HIRING 1
                                         A LAWYER.                                                      g
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                                              IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE                                      1


                                         ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY
                               4         OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REI) UCED FEE OR NO                                   x
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                                         FEE.
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                                   I
                                                                         Office of Lawyer Referral
                                                                    Lawrence County Government Center
                                                                              430 Court Street
                                   I                                       New Castle, PA 16101
                                     3
                                                                         Telephone' (724) 656»1921
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                                                                                    IN THE COURT OF COMMON PLEAS
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                                                                                  OF LAWRENCE COUNTY, PENNSYLVANIA

                                                         JACKSON TRAILS LTD.,                                •*
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                                                                         Plaintiff,                          .
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                                                 I             v.                                             C
                                                                                                              ¢     No. 10128 of2019, CA.
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                                                 i       NDRTII BEAVER TOWNSHIP,                             .•
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                                                         LAWRENCE   COUNTY, PENNSYLVANIA,
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                                                                         Defendant.                          **
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                                                                                       COMPLAINT IN CIVIL ACTI ON
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                                                               AND NOW comes the Plaimifi Jackson Trails Ltd., by and through its auomeys,
                                                                                                                                                          1
                                                 i       VERTERANO & MANOLIS by James W. Manolo and William J. Manolis, and files this

                                                         Complaint in Civi} Action against the Defendant, North Beaver Tovmship, Lawrence County,

                                                         Pennsylvania, and in support thereof sets forth the following:
                                                                                                                                                          I
                                             in                I.        The PlaimiH, Jackson Trails Ltd., is a Pennsylvania limited partnership duly
                                                                                                                                                          i
                                                         organized and existing under the laws of the Corrunonwealth ofPennsylvania and has a mailing

                                                 I       address of 5117 Erie Street, New Castle, Lawrence County, Pennsylvania 16102 ("Jackson           i



                                                         Trails").
                                                 I

                                                              2.         The Uefcndant, North Beaver Township, Lawrence County, Pennsylvania, is a
                                                                                                                                                          8




                                                 !
                                                         body corporate and politic, organized and existing under the laws of the Commonwealth of

                                                         Pennsylvania, and a municipal corporation with a mailing address of 861 Mt. Jackson Road,
                                             8




                                                         New Caste Lawrence County, Pennsylvania 16102 ("'1`ownship").

                                                              3.         Michael Roman() ask/a Michael A, Romano is an adult individual with a mailing

r. aa1t:nt.AL,1~1c>   8'I.~.z r c uz .t 9:
                                                         address of 409 Smalls Ferry Road, New Castle, Lawrence County, 16102 ("Romano").
  Azfnsnwbys AT Let#
2622 Wl£,M.NGfDN Kano
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                                                              4.         Ozzie, LLC, is a Pennsylvania limited liability company organized and existing
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       ?&4: 644 3


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                                     Case 2:22-cv-00294-WSS Document 1-2 Filed 02/15/22 Page 4 of 12
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                                                   under the law S of the Commouw'calth of Pennsylvania and has a registered ziddrcss of 267
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                                                   Hallxown Road, Wampum. Lawrence County, Pennsylvania 16157 ("Ozzie").
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                                                                                                                                                     i
                                                         5.       On February 25, 2002, by virtue of a general warranty deed dated the same,

                                                   Romano became the owner of a certain parcel of real estate bearing Lzawrence County Parcel

                                          1        LD.   No. 26-11 14(3) located in North Beaver Township, Lawrence county, Pennsylvania             I



                                          I        ("Romano l'roperty").                                                                             g




                                                         6.      Romano sought to develop approximately 5 I .806 acres of the Romano Property
                                         I                                                                                                           ,I

                                                   into a residential subdivision known as "'Southbrecze" ("Southbreeze Development"),
                                                                                                                                                     I
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                                                   comprised of approximately 50 Lots, as depicted on the Final Plan for Michael Romano
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                                                   recorded. OI] May 19, 2004 in the Office of the Recorder o.f Deeds in and for Lawrence County

                                                                                                                                                     I
                                         I ax Flan Book Volume 25, Page 140-14] ("Romano Plan").
                                                         7.       Time Romano Plan was presented and ultimately approved by the Township on

                                                   April 28, 2004.

                                                         8.      On July 16, 2004, by virtue of a general warranty deed dated the same, Ozzie

                                                   became the owner of the Romano Property and continued development of the Southbreeze              I
                                         i
                                                   Development.

                                      I                          On June 6, 2006, by virtue of a general warranty deed dated the same, Jackson
                                     g
                                                         9.

                                          E
                                                   Trails became the owner of a certain parcel of real estate bearing .Lawrence County Parcel LD.
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                                                   N 0 . 26-104500 located in North Beaver 1'ownship, Lawrence County, Pennsylvania ("Jackson
                                     !I
                                      I            Trails Property") .

                                                         10.     Jackson Trails sought 1.0 develop approximately 14.57 acres of the Jackson Trails
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                                                   Property into a residential subdivision known as "The Trails at. Mt. Jackson" ("Jackson Trails
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zeta WILM! N6TGN ao».a
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                                                   Developmem"), comprised of 17 Lots, as depicted on the Final Plan for Phase One of The Trails
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                                      Case 2:22-cv-00294-WSS Document 1-2 Filed 02/15/22 Page 5 of 12
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                                      i at Mt. Jackson r(:c()rdcd on November 27, 2006 in Lhc Office of the Recorder of Deeds in and
                                      I3                                                                                                            i
                                           for .Lawrence County as Document No. 2006-013940 ("Jackson Trails PIer").                               1E


                                                 1 I.    The Jackson Trails Plan was presented to and ultimate.Iy approved by the
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                                           Township on November 23, 2006.                                                                          3
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                                                 12.     The    Jackson     frails   Development     and    Southbreeze     Development      are
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                                       g approxinuately 2.5 miles apart.
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                                      I1                                                                                                           i
                                                 13,     The Jackson Trails Development and Southbreeze Development are residential

                                           land developments divided into lots for sale to the general public.

                                                 14.     The Jackson Trails Development and Southbrecze Development contain
                                      §
                                           improvements, including but not limited to streets, intended to be opened and/or dedicated for
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                                           public use or travel, or tor the common use of persons owning lots therein.
                                                                                                                                                   I
                                                 15.     At all times relevant hereto, Ordinance 2012-3-5-1, also known as the North

                                           Beaver Township Subdivision and Land Development C)1dinance, as amended, ("SALDO")

                                           was in effect, empowering the Township to regulate subdivisions and land developments within

                                           the Township. SALDO, § 103.

                                                 16.     Pursuant to the SALDO, "{n]o subdivision or land development of any low, tract

                                      E    or parcel of land shall be made . .. no street . .. Ol' other required improvement shall be laid out,

                                           constructed, opened or dedicated for public use or travel, or for the mammon use of occupants

                                           of buildings abutting thereon, except in accordance with the provisions of the SALDO]."

                                           SALDO,§ 107.1.

                                                 17.     "Developer" is defined as "[a]ny landowner, agent of such landownel' or tenant

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                                           with the permission of such landowner, who makes or causes to be made a subdivision of land
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g (;ASII..E, PA. wlr)815218
                                           or a land development." SALUO, § 202.
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                                     Case 2:22-cv-00294-WSS Document 1-2 Filed 02/15/22 Page 6 of 12


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                                      :            18.     "Land Development" is defined as "lawny of the following activities:
                                                                                                                                                     i

                                                           A.      The improvement of lone (1) or two (2) or more contiguous lots, tracts
                                                                   or parcels oiland for any purpose involving:                                     I
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                                                                   1.   A group or two (2) or more residential         buildings,
                                                                        whether proposed initially or cumulatively, .. regardless
                                                                        of the number of occupants or tenure, or                                     3


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                                                                        The division or allocation of land or space, whether
                                                                        initially or cumulatively, between or among two (2) or
                                                                        more existing UT prospective occupants by means o£ or                       II
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                                                                        for the plumose of streets, common areas, leaseholds,
                                      i
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                                                                        condominiums, building groups or other features,

                                                          B.       A subdivision of land ...." Id.

                                                   19.     "Lot" is "[a] designated parcel, tract or area of land established by a plat or          E

                                     in                                                                                                             E




                                             otherwise as permitted by law and to be used, developed or built upon as a unit." Li.

                                                  20.      "Street" includes a "streel, avenue, boulevard, road, highway, freeway, parkway,
                                     E
                                             lane, alley, viaduct and any other ways or strips of land used or intended to be used by vehicular     i
                                                                                                                                                    E
                                             tragic OI pedestrians whether public or private, and including the entire right-of-way." kg.
                                      E




                                                  21.      "Subd.ivision" is defined as "[tJhc division or re-division or a lot, tract, or parcel

                                             of land by any means into two (2) or more lots, tracts. parcels or other division of' land including   i

                                      I changes in existing lot lines .for the purpose, whether immediate or future, of lease,
                                                                                                                               .. transfer
                                      I <>fovmership or building or lot developnlem , .." Id.

                                                  22.      Jackson Trails, Romano and Ozzie are Developers, as defined by the SALDO.


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                                                  23,      The Jackson Trails Plan and Romano Plan are Subdivisions, as defined by the
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                                         3   SALDO.
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                                         I        24.      The activities of Jackson Trails and Romano and Ozzie in improving the Jackson
not l.»z:.A.xC.» 8: ?1.t.n:c:3.:é&
  AS 4>12!4 airs A a I..aw                   Trail Property and Romano Property, and implementation of the Jackson Trails Plan and
 ala? W i;.   N€;TUN 9¢*0
no C38 TITLE PA l\310iJ1880
    1734 852 :Jane
                                             Romano Plan in the ibsen of developing the Jackson Trails Development and Southbreczc                  I
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                               ii   Case 2:22-cv-00294-WSS Document 1-2 Filed 02/15/22 Page 7 of 12                                             I




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                                        Uevelopnwllt, respectively, corxstitules Land Development, as defined by the SALDO.
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                                  i           25.     During the development of the Jackson Trails Development, the Township,
                                                                                                                                                ¥

                                        through enforcement of its SAYID() or otheiwise, imposed upon Jackson Trails conditions and

                                        design standards relative to the construction of the streets lliroughout the Jackson Trail

                                        Development, including but iN limited to, the type and amount off aggregate utilized in
                                                                                                                                              ....
                                        constructing the base oli` the streets, the type and amount of asphalt utilized in conswucting the
                                                                                                                                              i


                                        paved courses of the streets, and the construction of curbing along the edges of the streets.

                                        sA1.,1)o,    502.1, 502.5(B), 701.1-701.4, 702.], 902 et seq., 903.l(A)-(D), IOU4, et seq.

                                             26.      In addition, Jackson Trails was required to employ Township engineers for the

                                        pmposc of inspecting and approving each stage of the design and consiructiorl of the streets

                                        within the Jackson Trails Hevcloplnellt. SALDO, §§ 502. I -502.4

                                             27.      At or about the same time, the streets within Southbreeze Development were

                                        under constI*uctio11, however, Lhe provisions SALDO were not enforced against either Romano

                                        or Gzzie, nor were they subjected to the same conditions, design standards and oversight placed

                                        upon Jackson Trails by the Township.

                                             28.      It is believed and therefore averred that the Township permitted Southbreeze

                                        Development streets lo, among, other things, remain as a stone base for several years, permitted

                                        the installation otlth(: stone base and asphalt courses without being subject to the inspection and

                                        approval by Township engineers, and did not require the installation of curbing along

                                iI Southbreeze Development streets, without regard for or enforcement of the Township's SALDO.
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                                is
                                i       29.     Funhelmorc, do Township permitted those who purchased lots from Ozzie in
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.'z=;Hs£1z¢n:m 8:   ANf.1.1S     I the Scuthbreeze Ifkvelopmcm to obtain building peimils and construct homes on the lots
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                                        without the streets and other improvements having first been constructed in accordance with
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                                              the S,/XI DO, while not permitting Jackson Trails to do the same with respect to the Jackson
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                                              Trails Mevelspment.
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                                                     80.     Furtllexmore, the Township pemiitted those who purchased lots from Ozzie in
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                                              the Southbrceze Development to obtain building permits and construct homes on the lots
                                   i
                                              without the streets and other improvements having first been properly dedicated for public use
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                                              and ordained by the Township, while not permitting Jackson "Trails to do the same with respect
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                                  1           to the Jackson Trails Development.
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                                                     31.     The Township accepted the streets in the Southbreezc Development for public
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                                              use and ordained the streets without the streets and other improvenxcnis having first been

                                              constructed in accordance with the SALDO, while not permitting Jackson Trails to do the same

                                 s            with respect to the Jackscm Trails Development.
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                                                     32.    At all times relevant hereto, Section I of the Fourteenth Amendment of the United
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                                              States Constitution was in full force and ciTect and provides in pertinent part that no state shall
                                     i
                                     i        "deny to any person within itsjurisdiction the equal protection of the laws." U.S. Const. Amend.

                                              XIV,    1.

                                                            At all times relevant hereto, Section 1983 of Title 42 of the United States Code,
                                                                                                                                                    I
                                                                                                                                                    l
                                              known as the Civil Rights Act of 1871, as amended, was in full force and effect and provides          I
                                      i

                                     I in pertinent part that:
                                     i
                                     i                     Every person who, under color of any statute, o1°dinanc(-1, regulation,
                                                           custom QI' usage, of any State ... subjects, or causes to be subjected,
                                                           any citizen of the United States ... to the deprivation of any rights,
                                     I                     privileges, or immunities secured by the Constitution and laws shall
                                     I
                                     !                     be liable to the party injured in an action at law, suit in equity, or other
                                                           proper proceeding fOr redress.
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  ATT <>l¢r¢1a¥!i .41 I..aw                   42USCA §1983
 8688 WLvitiG7C»a ROAD
» (.1.asrL11. PA 181054:55.46            g           34.    The SALDO provides that "{a]dcquate streets, ... and other improvements are
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                                         2:22-cv-00294-WSS Document 1-2 Filed 02/15/22 Page 9 of 12                                               I
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                            I essential elements in the crcaiion and preservation of stable residential               . areas, and must be
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                             E completed by the applicant/devcioper." SALDO, § 701 .1 .

                                               35.     Further, in provides that "[a]1I the requirements in 1h[e SALDO] concerning street
                                                                                                                                                  I
                                    iI
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                                         paving, curbing, and sidewalks shall be tallowed." SAL.D(), § 701 .4.
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                                               36.     Ax all rcicvant times hcrew, the lbwnship, by and through its duly authorized

                                         employees, agents, oi°Ecia.ls, representatives and appointees, acted under the color of state law,   I
                                                                                                                                              i
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                             9                 87.     The 'Ibwnship did not enforce the SAIQ,D(.) against Romano and/or Ozzie relative
                              Ii
                               I
                                         to the development of the Smzlhbreeze Development.
                                                                                                                                              i
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                                               38.     The 1ownship's failure is enforce the relevant provisions of its SALDO against

                                !i       Romania and/or Qzzie violated the constitutional rights oflackson Trails to equal protection of

                                         the law.
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                                               39.     The Township intentionally treated Jackson Trails differently in its development       I
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                                         of the Jackson Trails Development compared to its treatment of Romano and Ozzie in their

                                         development of the Romano Development,
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                                              40.      Jackson Trails and Romano and Ozzie are alike in all relevant respects and             !

                                         similarly situated parties.
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                                I             41.      There is no rational basis for the 1`ownship's disparate treatment of Jackson Trails

                                         and Romano and Qzzie, which was wholly irrational and arbitrary,

                                              42.      The Township's selective enib1cement of the SALDO afforded Romano and/or
                                                                                                                                              I
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                                         Ozzie an unfair economic advantage in that they were not compelled to expend the monies              !
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                                    I necessary to comply with the SALDO during the constru.ction and improvement of the

)294 RAN() a MANC}I lb              i Southbreeze Development.
   A 1aounz4ys AT IA\               lI
 2622 w £.MNGTDN mno
o {JA$1LP., PA £8195i58(3
                                           43.    As a result, Romano and/cr ();c2.ie could, among other things, offer tor sale the
    9784 8.553¢3$-
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                              Case 2:22-cv-00294-WSS Document 1-2 Filed 02/15/22 Page 10 of 12
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                                  I lots in the Southbreezc Development for less than the cost o1` lc)1s in the Jackson Trails
                                                                                                                                            III
                                      Development.

                                            44.     "I."he   Township's actions and/or inactions were malicious, in bad faith, and          i
                                                                                                                                            Iz


                              E       imwnded to injure Jackson Trails, or were (>thcrwise arbitrary and capricious.

                                  3        45.        As the result of the actions and inactions of the Township as set forth herein, the
                                  E
                                      lots owned by Jackson Trails in the Jackson Trails IDevelopmeut have not sold as those in the i

                                      Southbreeze Development have.
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                              8            46.        As the result of the actions and inactions of the fowuslmip as set forth herein,      I
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                                      Jackson Trails has lost the ability to fairly engage with Ozzie in the sale of lots in the parties'

                                      respective devek)pments.

                                           47.       As the result of the actions and inactions of the Township as set forth herein,
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                              *i Jackson Trails has suffered damages including but not limited to lost profits, additional
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                                  I
                                      expenses and cost to market its lots, and additional expenses and costs br upkeep and
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                                      mamtenance of its development,

                                           48.       Furthermore, Jackson Trails has and will incur substantial attorneys' fees and

                                      costs in these proceedings for the purpose of enforcing its rights as alleged in these proceedings.
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                                            VVIIEREFOKE, the Plaintiff, Jackson hails Ltd., respectfully requests that this                 s
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                                      Honorable Court enter judgment in favor of the PlzLimi1lf` and against the Defendant, North

                                  E   Beaver Township, Lawrence County, Pennsylvania, in an amount in excess of $25,000.00, plus
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                                      costs, attorney's fees and all other remedies and relief available to Plaintiff under the laws

                                      applicable to this case.

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                                  ,i                                        Respectfully submitted,
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                                   I                                                     by for Plaintiff
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                                                                                  Pa. I.D. No. 468] 0
                                                                                  2622 Wilmington Road
                                                                                  New Castle, Pennsylvania 16105   i
                                                                                   724-652-0300


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                                                                                     VERiFlCA'Ill()N                                           4
                             I
                                                     I verify that the statements made in the foregoing Complaint are true and correct based
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                                              upon my personal knowledge, information and belief. l understand that false eatatemems llerein     I
                                                                                                                                                 4
                             I                are subject so the penalties of I8 Pa.C.S. §4904, relating to unsworn falsification to authodties.
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                                                                                           JACKSON TRAILS LTD..
                                                                                                                                                i
                                                                                           by its sole General Partner,
                                 i                                                         GREEN ACRES DEVELOPMENT co., INC.                             I
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                                              Dated:___     I/.?(»/fzmn                     BY:
                                                                                                   Timo1hyJ. Kissling, President                I


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